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                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
 7
     UNITED STATES OF AMERICA,                         CASE NO. CR17-5468BHS
 8
                              Plaintiff,               ORDER
 9          v.

10   ARMANDO RAMIREZ NAVARRO,
     GIOVANY SANCHEZ CHAVEZ,
11   EFRAIN MUNGUIA and OMAR
     MARTINEZ-VELAZQUEZ,
12
                              Defendants.
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14          This matter comes before the Court on the parties’ Joint Motion to Continue Trial

15   Date. The Court, having considered the joint motion and the Defendants’ speedy trial

16   waivers makes the following findings of fact and conclusions of law:

17          1. Defense counsel need additional time to review over 1800 pages and several

18   discs of electronic discovery to prepare for pretrial motions.

19          2. The defense needs additional time to explore all relevant issues and defenses

20   applicable to the case, which would make it unreasonable to expect adequate preparation

21   for pretrial proceedings or for trial itself within the time limits established by the Speedy

22   Trial Act and currently set for this case. 18 U.S.C. § 3161(h)(7)(B)(ii).


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 1          3. Taking into account the exercise of due diligence, a continuance is necessary to

 2   allow the defense the reasonable time for effective preparation and to ensure continuity of

 3   counsel. 18 U.S.C. § 3161(h)(7)(B)(iv).

 4          4. Proceeding to trial absent adequate time for the defense to prepare would result

 5   in a miscarriage of justice. 18 U.S.C. §3161(h)(7)(B)(i).

 6          5. The ends of justice served by granting this continuance outweigh the best

 7   interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

 8          6. Defendants Armando Ramirez Navarro, Giovany Sanchez Chavez and Efrain

 9   Munguia waived speedy trial through September 30, 2018; Defendant Omar Martinez-

10   Velazquez waived speedy trial through October 5, 2018.

11          NOW, THEREFORE, IT IS HEREBY ORDERED that the trial date is continued

12   from April 24, 2018 to August 28, 2018, at 9:00 a.m. The resulting period of delay from

13   February 21, 2018 to August 28, 2018, is hereby excluded for speedy trial purposes under

14   18 U.S.C. § 3161(h)(7)(A) and (B).

15          Pretrial motions are due no later than July 19, 2018. Pretrial Conference is set for

16   August 20, 2018 at 11:00 a.m.

17          Dated this 7th day of March, 2018.

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                                                 A
                                                 BENJAMIN H. SETTLE
                                                 United States District Judge

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     ORDER - 2
